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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §    CASE NO. 1:19CR101
                                                   §
LARRY EARNEST TILLERY                              §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate Judge,

for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal Procedure.

Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

States Magistrate Judge [Clerk’s Doc. #16]. The magistrate judge recommended that the Court accept

the defendant’s guilty plea and conditionally accept the plea agreement. The magistrate judge also

recommended that the Court accept the defendant’s guilty plea. He further recommended that the

Court finally adjudge the defendant as guilty on Counts One and Two of the Information filed against

the defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that the

Findings of Fact and Recommendation on Guilty Plea [Clerk’s Doc. #16] of the United States




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Magistrate Judge are ADOPTED.         The Court defers acceptance of the plea agreement and plea

agreement addendum until after review of the presentence report.

        It is further ORDERED that, in accordance with the defendant’s guilty plea and the magistrate

judge’s findings and recommendation, the defendant, Larry Earnest Tillery, is hereby adjudged as guilty

on Counts One and Two of the Information charging violation of 18 U.S.C. § 1957 and 26 U.S.C. §

7201.

        SIGNED this the 22 day of July, 2019.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge




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